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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITED STATES OF AMERICA, }
}
Piaintiff, ) Cr. No. 18-cr-20406-JTF
}
¥S. }
}
) 18 U.S.C. 241
ANTHONY DAVIS, ) 18 U.S.C. 1954
SAM BLUE, ) 18 U.S.C. 242
LESTER PAGE, > 180U.5.C. 2
DAVID DOUGLAS, }
RONNIE WOODS, }
JARVIS HOWARD, and }
KENNETH HICKS, }
)
Defendants. )

SECOND SUPERSEDING INDICTMENT
THE GRAND JURY CHARGES:
At all times material to this indictment:

1. Sam Blue was a sworn officer with the Memphis Police Department (MPD).

2. The MPD was a duly constituted police agency providing law enforcement services
to the City of Memphis. Their sworn officers were authorized by law to make arrests and
conduct searches and seizures.

3. The Grand Jury incorporates by reference and re-alleges these introductory

allegations into each count of this indictment.
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COUNT 1
Beginning at a time unknown to the grand jury, but at least from in or about January

2014 and continuing until on or about July 13, 2018, in the Western District of Tennessee
and elsewhere, the defendants,

ANTHONY DAVIS,

SAM BLUE,
LESTER PAGE,
DAVID DOUGLAS,
RONNIE WOODS,
JARVIS HOWARD, and

KENNETH HICKS
did unlawfully, knowingly and intentionally conspire, combine, confederate and agree with
each other, and with other persons both known and unknown to the Grand Jury, to, while
acting under color of law, injure, oppress, threaten, and intimidate persons in the free
exercise and enjoyment of rights secured to them by the Constitution and laws of the
United States, that is, the right fo be secure in their persons against harm, the right to be
free from unreasonable searches and seizures, and the right to be free from deprivation
of property without due process of law, by those acting under color of law, in violation of
18 U.S.C. §§241 and 2.

Included in the acts committed in violation of this Count is the kidnapping of Eric
Cain on or about July 13, 2018.
MANNER AND MEANS

The conspiracy was to be accomplished in substance as follows:
1. Various co-conspirators would provide other co-conspirators with information

about individuals (hereinafter “targets”) believed to be in possession of narcotics or

narcotics proceeds, knowing that the other co-conspirators would attempt to rob said
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targets.

2 After receiving information about a particular target, various co-conspirators would
share such information with other co-conspirators and discuss strategy with the other co-
conspirators to commit a crime, that is to take property from the person and the presence

of any victim, by using force, violence, and intimidation, thereby committing a robbery.

a Prior to the planned robberies, various co-conspirators would conduct surveillance
of the target(s}.
4. Prior to the planned robberies, co-conspirator Blue would provide his civilian co-

conspirators with information, such as home addresses for the target(s) of the robberies,
obtained from law enforcement restricted sources.

5. Prior to the planned robberies, co-conspirator Blue would provide his civilian co-
conspirators with equipment, including an official MPD badge, and a car dashboard blue
light to use during the planned robberies so that they could falsely claim to be or appear
to be law enforcement officers. Co-conspirator Blue would provide this equipment, and
the co-conspirators agreed to use this equipment, to cause target(s) to believe the co-
conspirators were carrying out legitimate law enforcement functions.

6. Prior to the planned robberies various co-conspirators would order official looking
clothing to use during the planned robberies so that they could falsely claim to be or
appear to be law enforcement officers and to cause target(s) to believe the co-

conspirators were carrying out legitimate law enforcement functions.
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GOUNT 2

Beginning at a time unknown to the grand jury, but at least from in or about January
2014 and continuing until on or about July 13, 2018, in the Western District of Tennessee
and elsewhere, the defendants,
ANTHONY DAVIS,
SAM BLUE,
LESTER PAGE,
DAVID DOUGLAS,
RONNIE WOODS,
JARVIS HOWARD, and
KENNETH HICKS
did unlawfully, knowingly and intentionally conspire, combine, confederate and agree with
each other, and with other persons both known and unknown to the Grand Jury, to
unlawfully obstruct, delay, and affect commerce and the movement of articles and
commodities in such commerce, by robbery, and to commit and threaten physical

violence to other persons, in furtherance of a plan and purpose to commit such robbery,

in violation of 18 U.S.C. §§1951 and 2.

MANNER AND MEANS
1. The Grand Jury incorporates and re-alleges herein the allegations contained in the

MANNER AND MEANS section of Count 1.
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COUNT 3
On or about July 13, 2018, in the Western District of Tennessee, the defendants
ANTHONY DAVIS,
SAM BLUE,
LESTER PAGE,
DAVID DOUGLAS,
RONNIE WOODS,
JARVIS HOWARD, and
KENNETH HICKS
aided and abetted each by the other and by others known and unknown to the Grand
Jury, while acting under color of the law, did willfully deprive a person of the right secured
and protected by the Constitution of the United States not to be deprived of liberty without
due process of law, including the right to be free from the intentional use of unreasonable
force by one acting under color of law, all in violation of 18 U.S.C. §§242 and 2.
in commission of said offense, the defendants, aided and abetted each by the

other and by others known and unknown to the Grand Jury, kidnapped Eric Cain.

A TRUE BILL:

 

FOREPERSON

DATED:

 

 

D. MICHAEL DUNAVANT
UNITED STATES ATTORNEY
